                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


SAM HADAWAY,

                    Plaintiff,

      v.                                           Case No. 19-cv-1106-pp

CITY OF MILWAUKEE, et al.,

                    Defendants.


                                 SCHEDULING ORDER


      The court has reviewed the joint Rule 26(f) plan, and finds the parties’

proposed plan acceptable. The court will adopt the parties’ proposed schedule

in this order.

      The court strongly encourages parties to begin considering settlement

early in the case. There are five magistrate judges in the Eastern District—two

active and three recalled—all of whom are experienced mediators. If the parties

decide at any point that they would like to utilize a magistrate judge to

facilitate mediation, the may request the appointment of a mediator by either

calling chambers—with all parties on the line, or by filing a joint motion or

stipulation. The court will refer the case to a magistrate judge as soon as

possible after receiving such a request.

      The court urges parties who need a protective order to use the boilerplate

order at the end of the Eastern District’s local rules,

www.wied.uscourts.gov/local-rules-and-orders-0, at page 53. The court will not

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sign protective orders that contain provisions that purport to bind the court to

place documents under seal. Seventh Circuit law requires the parties to file a

separate motion to seal, and to state cause; it is not sufficient for the parties to

state as cause that they have agreed that a document should be sealed

because of an agreed protective order.

      The court encourages parties to visit the court’s home page on the

Eastern District web site—www.wied.uscourts.gov/judge/pamela-pepper—for

practice tips.

      In accordance with the parties’ Rule 26(f) plan, the court ORDERS the

following:

      The parties shall exchange their Rule 26(a)(1) disclosures by the end of

the day on November 22, 2019.

      Parties wishing to amend pleadings or join parties without leave of the

court shall do so no later than the end of the day on May 22, 2020.

      The parties shall complete all fact discovery no later than the end of the

day on November 20, 2020.

      The plaintiff shall disclose the identities of expert witnesses along with

reports and supporting documentation, no later than the end of the day on

December 20, 2020.

      The defendant shall disclose the identities of expert witnesses, along with

reports and supporting documentation, no later than the end of the day on

February 21, 2021.




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      The plaintiff shall disclose the identities of rebuttal expert witnesses,

along with reports and supporting documentation, no later than the end of the

day on April 3, 2021.

      The parties shall complete all expert discovery no later than the end of

the day on April 24, 2021.

      A party wishing to file dispositive motions must do so by the end of the

day on May 15, 2021. The response and reply deadlines mandated by Civil

Local Rule 56 shall apply. The parties shall file a joint status report by May 15,

2021 if they choose not to file a dispositive motion.

      The court will not set dates for the final pretrial conference or the trial

until dispositive motions have been decided.

      The court ORDERS that when any party files proposed findings of fact,

the party shall e-mail a Word version of those proposed findings to

PepperPO@wied.uscourts.gov.

      Dated in Milwaukee, Wisconsin this 29th day of October, 2019.

                                      BY THE COURT:


                                      _____________________________________
                                      HON. PAMELA PEPPER
                                      United States District Judge




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